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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                RCM-TO GO, LLC

2.   All other names debtor       DBA     REZIN ORTHOPEDICS & SPORTS MEDICINE
     used in the last 8 years
                                  DBA     ALL EYE CARE
     Include any assumed          DBA     THE UNIVERSITY OF TEXAS OF DALLAS, CALLIER CENTER
     names, trade names and       DBA     RCMtoGO, LLC
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4262 Blue Diamond Road #102-371                                 2140 Canyonville Dr
                                  Las Vegas, NV 89139                                             Henderson, NV 89044
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  2140 Canyonville Dr Henderson, NV 89044
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.rcmtogo.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    RCM-TO GO, LLC                                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5182

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




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Debtor    RCM-TO GO, LLC                                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      KPG REVENUE CYCLE MANAGEMENT, INC                             Relationship               affiliated entity

                                                     District    Nevada                       When      5/08/23                Case number, if known      23-12013


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



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Debtor   RCM-TO GO, LLC                                                              Case number (if known)
         Name


16. Estimated liabilities     $0 - $50,000                               $1,000,001 - $10 million              $500,000,001 - $1 billion
                              $50,001 - $100,000                         $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion




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Debtor    RCM-TO GO, LLC                                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 19, 2023
                                                  MM / DD / YYYY


                             X   /s/ M. George Puziak                                                     M. George Puziak
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Seth D Ballstaedt, Esq.                                               Date May 19, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Seth D Ballstaedt, Esq.
                                 Printed name

                                 Fair Fee Legal Services
                                 Firm name

                                 8751 W. Charleston Blvd.
                                 Suite 220
                                 Las Vegas, NV 89117
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (702) 715-0000                Email address      help@bkvegas.com

                                 11516 NV
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name RCM-TO GO, LLC
 United States Bankruptcy Court for the: DISTRICT OF NEVADA                                                                                  Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Brevin Systems LLC                                  Vendor                                                                                                        $1,550.00
 2999 Middlebrook
 Rd
 Ferrisburgh, VT
 05456
 Brevin Systems LLC                                  Vendor                                                                                                        $1,523.75
 2999 Middlebrook
 Rd
 Ferrisburgh, VT
 05456
 Chase Ink Card                                      Credit Card                                                                                                 $10,149.00
 PO Box 6294
 Carol Stream, IL
 60197-6294
 Minntek                                             Vendor                                                                                                      $16,989.00
 13433 Fenway Circle
 Blvd Ste 120
 Hugo, MN 55038
 OneCube Advisors,                                   Vendor                                                                                                      $16,116.56
 LLC
 602 Gibraltar Rd
 Reading, PA 19606
 Salesforce Inc                                      Annual Software                                                                                               $3,078.00
 Salesforce Tower                                    Renewal
 415 Mission Street,
 3rd Floor
 San Francisco, CA
 94105
 Switch                                              Vendor                                                                                                        $3,864.87
 PO Box 674592
 Dallas, TX
 75267-4592
 Tech Vault, Inc                                     Vendor                                                                                                        $2,950.00
 C/O ICV
 Burlington, VT
 05401



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    RCM-TO GO, LLC                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 VVC Holdings, LLC                                   Vendor                                                                                                      $54,896.00
 PO Box 840592
 TX 75294-0952




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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                 RCM-TO GO, LLC
                 2140 Canyonville Dr
                 Henderson, NV 89044

                 Seth D Ballstaedt, Esq.
                 Fair Fee Legal Services
                 8751 W. Charleston Blvd.
                 Suite 220
                 Las Vegas, NV 89117

                 Brevin Systems LLC
                 Acct No 1391
                 2999 Middlebrook Rd
                 Ferrisburgh, VT 05456

                 Brevin Systems LLC
                 Acct No 1402
                 2999 Middlebrook Rd
                 Ferrisburgh, VT 05456

                 Chase Ink Card
                 Acct No 4246-3152-7981-9229
                 PO Box 6294
                 Carol Stream, IL 60197-6294

                 Clark County Assessor
                 c/o Bankruptcy Clerk
                 500 S Grand Central Pkwy
                 Box 551401
                 Las Vegas, NV 89155-1401

                 Clark County Treasurer
                 c/o Bankruptcy Clerk
                 500 S Grand Central Pkwy
                 Box 551220
                 Las Vegas, NV 89155-1220

                 Dept. of Employment, Training & Rehab
                 Employment Security Division
                 500 East Third Street
                 Carson City, NV 89713

                 Internal Revenue Service
                 PO Box 7346
                 Philadelphia, PA 19101-7346

                 Minntek
                 Acct No 14504523-1
                 13433 Fenway Circle Blvd Ste 120
                 Hugo, MN 55038

                 Nevada Dept. of Taxations, Bankruptcy
                 555 E Washington Ave, #1300
                 Las Vegas, NV 89101
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             OneCube Advisors, LLC
             602 Gibraltar Rd
             Reading, PA 19606

             Salesforce Inc
             Acct No 7144192
             Salesforce Tower
             415 Mission Street, 3rd Floor
             San Francisco, CA 94105

             Switch
             Acct No A000814 (R1021)
             PO Box 674592
             Dallas, TX 75267-4592

             Tech Vault, Inc
             C/O ICV
             Burlington, VT 05401

             United States Trustee
             300 Las Vegas Blvd. South #4300
             Las Vegas, NV 89101

             VVC Holdings, LLC
             Acct No 4451288231
             PO Box 840592
             TX 75294-0952
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                                        United States Bankruptcy Court
                                                   District of Nevada
 In re   RCM-TO GO, LLC                                                             Case No.
                                                            Debtor(s)               Chapter    11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for RCM-TO GO, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




May 19, 2023                                   /s/ Seth D Ballstaedt, Esq.
Date                                           Seth D Ballstaedt, Esq.
                                               Signature of Attorney or Litigant
                                               Counsel for RCM-TO GO, LLC
                                               Fair Fee Legal Services
                                               8751 W. Charleston Blvd.
                                               Suite 220
                                               Las Vegas, NV 89117
                                               (702) 715-0000 Fax:(702) 666-8215
                                               help@bkvegas.com
